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Exhibit

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

No. = 1:21-cr-28-APM-3

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JESSICA MARIE WATKINS

GOVERNMENT’S MEMORANDUM
IN SUPPORT OF PRE-TRIAL DETENTION

The United States respectfully files this memorandum in support of pre-trial detention for
the defendant, Jessica Watkins. As set forth below, Watkins traveled to Washington D.C. and
“forced entry into the Capitol building” because of her professed belief that the newly-elected
government is illegitimate. Moreover, as evidenced by her conduct leading up to, during, and after
the attack on the Capitol, Watkins exhibited a single-minded devotion to obstruct through violence
an official proceeding that, on January 6, was designed to confirm the next President of the United
States. Crimes of this magnitude, committed with such zeal, belie any conditions of release that
would reasonably assure the safety of the community or by which Watkins could be trusted to
abide.

Clad in camouflaged battle fatigues, a tactical vest emblazoned with an Oath Keepers
patch, combat boots, military grade helmet, and radio equipment, Watkins and her fellow Oath
Keepers militia members were among those hundreds of insurgents who stormed the Capitol on
January 6, 2021. But unlike the vast majority, Watkins had trained and plotted for a moment like

this. As she told co-conspirators and sympathizers coordinating and rooting on the insurgency

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over the encrypted “Stop the Steal J6” Zello' app channel, “We have a good group. We have about
30-40 of us. We are sticking together and sticking to the plan.” Moments after the Vice President
of the United States, Senators, and staff were hurriedly evacuated in the midst of certifying the
results of the 2020 Presidential election, that plan became chillingly clear when an unknown male
instructed over the channel, “You are executing citizen’s arrest. Arrest this assembly, we have
probable cause for acts of treason, election fraud.”

For Watkins, this was a moment to relish in the swirling violence in the air. After marching
to the Capitol in a para-military “stack” tactical formation, penetrating the building through a door
breached by insurgents, and pushing past a law enforcement officer engulfed by the swelling
crowd, Watkins gleefully exclaimed over the channel, “We are in the mezzanine. We are in the
main dome right now. We are rocking it. They are throwing grenades, they are fricking shooting
people with paint balls. But we are in here.” An unknown male cautioned over the channel for
her to be safe, and stated, “Get it, Jess. Do your fucking thing. This is what we fucking
{unintelligible] up for. Everything we fucking trained for.”

Watkins’s premediated and coordinated conduct created an unprecedented danger, the
effects of which continue to reverberate throughout this city and nation—and which demonstrate
that there are no conditions of release that can reasonably assure the safety of the community. This

Court should thus detain Watkins pending trial.

' Zello is an application that emulates push-to-talk walkie-talkies over cellular telephone networks.
Zello can be used on electronic communication devices, like cellular telephones and two-way
radios.
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I, Factual Background

A. The Oath Keepers Militia

Watkins is a military veteran and confirmed dues-paying member of the Oath Keepers. At
the top of her Parler account, Watkins states that she is “C.O. [Commanding Officer] of the Ohio
State Regular Militia.” The Ohio State Regular Militia is a local militia organization whose
members form a subset of the Oath Keepers.

The Oath Keepers are a large but loosely-organized collection of various militia that
believe that the federal government has been coopted by a shadowy conspiracy that is trying to
strip American citizens of their rights. Though the Oath Keepers will accept anyone as members,
what differentiates them from other anti-government groups is their explicit focus on recruiting
current and former military, law enforcement, and first-responder personnel. The organization’s
name alludes to the oath sworn by members of the military and police to defend the Constitution
“from all enemies, foreign and domestic.”

On January 4, 2021, the founder and leader of the Oath Keepers, Person One, issued a call
for action’, stating, “It is CRITICAL that all patriots who can be in DC get to DC to stand tall in
support of President Trump’s fight to defeat the enemies foreign and domestic who are attempting
a coup, through the massive vote fraud and related attacks on our Republic. We Oath Keepers are
both honor-bound and eager to be there in strength to do our part,” including “prepar[ing] to do

whatever must be done to honor our oaths[.]”

*https://oathkeepers.org/2021/01/oath-keepers-deploying-to-dc-to-protect-events-speakers-

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B. Watkins Planned and Coordinated with Oath Keeper members to Attack the
Capitol on January 6, 2021

Watkins considered the prospect of a Biden presidency an existential threat. On November
17, 2020, she told a person listed in her phone contacts as a “recruit,” that, “[i]f Biden get the steal,
none of us have a chance in my mind. We already have our neck in the noose. They just haven’t
kicked in the chair yet.” She further elaborated, “I don’t underestimate the resolve of the Deep
State. Biden may still be our President. If he is, our way of life as we know it is over. Our
Republic would be over. Then it is our duty as Americans to fight, kill and die for our rights.”
Indeed, on November 19, 2021, Watkins went so far as to text a contact that, “If anything, we need
to go underground if this coup works,” as well as for the need “to be cautious as hell going forward”
since “[iJf they still this election, we are all targets after Jan 20°.”

This was the grave threat that Watkins recruited new militia members to fight against. To
the same recruit, Watkins wrote that, “Basic Training is mandatory ... I need you fighting fit by
innaugeration.” Watkins emphasized this point to another recruit on October 26, 2020, noting,
“the election is imminent. We do have Basic Training/FRX coming up in January though ... others
who join before then without experience will be REQUIRED to attend for the full week. Donovan
already has his Drill Sergeant mode going haha. The rest of us will be training with them to get
us all field-ready before inauguration.” This training included “2 days of wargames” incorporated
into a larger “combat” training for “urban warfare, riot control, and rescue operations.”

As the inauguration grew nearer, Watkins indicated that she was awaiting direction from
President Trump. Her concern about taking action without his backing was evident in a November
9, 2020, text in which she stated, “I am concerned this is an elaborate trap. Unless the POTUS
himself activates us, it’s not legit. The POTUS has the right to activate units too. If Trump asks

me to come, I will. Otherwise, I can’t trust it.” Watkins had perceived her desired signal by the
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end of December. In a text exchange with Co-defendant Donovan Crowl on December 29, 2020,
she informed, “[w]e plan on going to DC on the 6th” because “Trump wants all able bodied Patriots
to come,” and how, “{i]f Trump activates the Insurrection Act, I’d hate to miss it.”

The next day, Watkins exchanged text messages with Co-defendant Thomas Caldwell
about the operational plans for January 6, 2021. This included coordinating about where and when
to meet and where to stay. Operational plans also contemplated the possession and use of weapons
in D.C. before and on January 6. Caldwell referenced “a quick reaction force [QRF] [that would
be] bringing the tools if something goes to hell. That way the boys don’t have to try to schelp weps
on the bus.” Watkins previously stated that the QRF provided ready access to guns during
operations. As she explained to a contact when preparing to attend a November election fraud
rally in Washington D.C., QRF was designed so that “If it gets bad, they QRF to us with weapons
for us,” but that, otherwise, “[w]e can have mace, tasers, or night sticks. QRF staged, armed, with
our weapons, outside the city” and advised “to be prepared to fight hand to hand” while “guys
outside DC with guns, await[] orders to enter DC under permission from Trump, not a minute
sooner.” Watkins’s own operational role extended well beyond providing medical aid. As she
explained to a recruit, “I’m no doctor. I’m a soldier. A medic with a rifle, maybe, but a solider. I
will hurt/kill those who try to hurt/kill me or others.”

On December 31, 2020, Watkins communicated with another Oath Keeper member about
joining “the new DC op Signal channel” to further coordinate plans and was invited to a
“leadership only phone conference” that night. Days later, Watkins coordinated with two other
Ohio residents about traveling with them to Washington, D.C. on January 4, 2021, as well as

notifying them about directives she received that “We are not bringing firearms. QRF will be our
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Law Enforcement members of Oathkeepers.” Later that day, however, Watkins advised,
“Weapons are ok now as well. Sorry for the confusion.”

C. The Attack at the U.S. Capitol on January 6, 2021

The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is secured 24
hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include permanent and
temporary security barriers and posts patrolled by Capitol Police. Only authorized people with
appropriate identification are allowed access inside the Capitol. On January 6, 2021, the exterior
plaza of the U.S. Capitol was closed to members of the public.

On January 6, 2021, a joint session of the United States Congress convened at the Capitol.
During the joint session, elected members of the United States House of Representatives and the
United States Senate were meeting in separate chambers of the Capitol to certify the vote count of
the Electoral College of the 2020 Presidential Election, which had taken place on November 3,
2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately
1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Mike Pence was present and presiding, first in the joint session, and then in the
Senate chamber.

A large crowd began to gather outside the Capitol perimeter as the Joint Session got
underway. Crowd members eventually forced their way through, up, and over Capitol Police
barricades and advanced to the building’s exterior fagade. Capitol Police officers attempted to
maintain order and stop the crowd from entering the Capitol building, to which the doors and
windows were locked or otherwise secured. Nonetheless, shortly after 2:00 p.m., crowd members
forced entry into the Capitol building by breaking windows, ramming open doors, and assaulting

Capitol Police officers. Other crowd members encouraged and otherwise assisted the forced entry.
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The crowd was not lawfully authorized to enter or remain inside the Capitol, and no crowd member
submitted to security screenings or weapons checks by Capitol Police or other security officials.

Shortly thereafter, at approximately 2:20 p.m., members of the House and Senate
{including Vice President Pence}—who had withdrawn to separate chambers to resolve an
objection—were evacuated from their respective chambers. The Joint Session and the entire
official proceeding of the Congress was halted while Capitol Police and other law-enforcement
officers worked to restore order and clear the Capitol of the unlawful occupants.

Later that night, law enforcement regained control of the Capitol. At approximately 8:00
p.m., the Joint Session reconvened, presided over by Vice President Pence, who had remained
hidden within the Capitol building throughout these events.

In the course of these events, approximately 81 members of the Capitol Police and 58
members of the Metropolitan Police Department were assaulted. Additionally, four citizens died;
many media members were assaulted and had cameras and other news-gathering equipment
destroyed; and the Capitol suffered millions of dollars in damage—including broken windows and
doors, graffiti, and residue of various pepper sprays, tear gas, and fire extinguishers deployed both
by crowd members who stormed the Capitol and by Capitol Police officers trying to restore order.

D. Watkins And Fellow Oath Keepers Storm the Capitol

Among those who stormed the Capitol on January 6, 2021, was a group of camouflage-
clad individuals, some of whom wore observable Oath Keeper patches or insignia. They marched
tightly together in an organized line up the steps on the east side of the Capitol, wearing combat
helmets, bullet-proof vests, gloves with knuckle protection, and radios, as depicted in the following

image.
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They were again spotted in a YouTube video recording of the January 6, 2021, attack at
the Capitol uploaded by “News2Share.” At the approximate 3-minute-and-8-second mark, the
video shows eight-to-ten individuals in matching uniforms consisting of camouflaged-combat
attire aggressively approaching an entrance to the Capitol.? These individuals, who are wearing
helmets, reinforced vests, and clothing with Oath Keeper paraphernalia, can be seen moving in an
organized and practiced fashion and forcing their way to the front of the crowd gathered around a
set of doors to the Capitol. The crowd aggressively and repeatedly pulled on and assaulted those
doors in an effort to get inside, as law enforcement officers on the inside tried to keep the doors
closed. Those doors suffered significant damage: multiple panes of glass on the doors were

shattered and a door handle was ripped off.

3 https://www. youtube.com/watch?v=b76K fHBOQO8&feature=youtu.be (last accessed January
14, 2021).
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A close-up view of the badges on the vest of one of these individuals, seen just under the

Oath Keepers emblem on his shirt, displays the Oath Keepers motto, “Not On Our Watch.”

At the approximate 3-hour-and-20-second mark, the video noted above shows the
uncovered face of an individual, believed to be Watkins, among the group of Oath Keepers as

shown below.
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Surveillance video footage from inside of the Capitol shows Watkins forcibly entering the
Capitol building at approximately 2:40 p.m. In various social media posts, Watkins confirmed
that on January 6, 2021, she entered the U.S. Capitol by force, including on Parler where she posted
a photo of herself, with the caption, “Me before forcing entry into the Capitol Building.

#stopthesteal #stormthecapitol #oathkeepers #ohiomilitia.”

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As they entered the Capitol, Watkins (yellow arrow) and other Oath Keepers joined the
larger crowd in pushing past at least one law enforcement officer (blue arrow) who appeared to be

pushing against the crowd.

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Watkins was among the Oath Keepers who then penetrated the Capitol Rotunda. In a Parler
video compiled by ProPublica,* Watkins and Crowl are shown together in the Capitol Rotunda.
Crowl says, “We took on the Capitol! We overran the Capitol!” Watkins exclaims, “We’re in the

fucking Capitol, [unintelligible]!” Watkins and Crowl tum the camera around for a video selfie to

document the moment:

4 https://projects.propublica.org/parler-capitol-videos/ (last accessed January 19, 2021).
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On January 13, 2021, the Ohio Capital Journal published an article entitled, Ohio Bartender
and Her ‘Militia’ Drove to D.C. to Join the Capitol Breach.” Watkins is quoted in the article as
saying, “To me, it was the most beautiful thing I ever saw until we started hearing glass smash.
That’s when we knew things had gotten really bad.” Watkins also states, “We never smashed
anything, stole anything, burned anything, and truthfully we were very respectful with Capitol Hill
PD until they attacked us. Then we stood our ground and drew the line.”

On January 17, 2021, FBI agents executed a search warrant of Watkins’s residence. Inside,
they located protective equipment and battle gear of the sort worn during the offenses of January
6, 2021 (to include a camouflage hat and jackets; a backpack with medical/PPE supplies; a black

tactical kit with medical supplies, radio, mini drone, and pepper spray; a bag containing a helmet

> https://www.citybeat.com/news/blog/2 1 147932/ohio-bartender-and-her-militia-drove-to-de-to-
join-the-capitol-breach (last accessed, January 16, 2021)

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and respirators; and a bag containing a helmet, radio, and belt); cellular telephones; numerous
firearms; a paintball gun with rubber-steel balls and a cylinder; pool cues cut down to baton size;
zip/cable ties; recipe for making a destructive device; and other items.

On January 21, 2021, Person One issued a “Warning®” to Oath Keepers, calling “[w]hat is
now being installed [] not a constitutional government” but instead “an illegitimate regime.” He
further implored Oath Keepers to “follow the Founders’ game plan, using their strategies and
methods, which focused first on declarations of illegitimacy, [and] nullification (declaring
unconstitutional acts to be null and void from inception, and refusing to obey them).” And while
he noted “we are not calling for the initiation of violence,” he emphasized defending against “the
communist and deep state traitors who have stolen the White House and stole a false majority in
the US Senate, along with their street level terrorist allies, all of whom have already expressed
their intent to trample on our rights.”

Il. Procedural Background

On January 17, 2021, Watkins was arrested along with co-defendant Crowl in Ohio under
a complaint/warrant issued by U.S. Magistrate Judge Zia M. Faruqui. The complaint charged
Watkins, Crowl, and Caldwell of Virginia, with conspiracy, in violation of 18 U.S.C. § 371 (a
felony); conspiracy to impede or injure an officer, in violation of 18 U.S.C. § 372 (a felony);
destruction of government property, in violation of 18 U.S.C. § 1361 (a felony); obstruction of an
official proceeding, in violation of 18 U.S.C. § 1512(c){2) (a felony); entering a restricted building
without lawful authority, in violation of 18 U.S.C. § 1752(a) (a misdemeanor), and; violent entry

on Capitol grounds, in violation of 40 U.S.C. § 5104(e)(2) (a felony). Watkins made her initial

® https://oathkeepers.org/2021/01/oath-keepers-warnin u' (last accessed on February

10, 2021).

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appearance in the Southern District of Ohio on January 19, 2021, and the government moved for
detention under 18 U.S.C § 3142(f)(1)(A), on the basis that 18 U.S.C. § 1361 is a crime of
violence. Watkins agreed to waive her right to an identity hearing and requested that her
preliminary hearing and detention hearing be held in Washington, D.C.

On January 27, 2021, a federal grand jury in Washington, D.C., indicted Watkins, Crowl,
and Caldwell, on counts of conspiracy, in violation of 18 U.S.C. § 371; obstruction of an official
proceeding, in violation of 18 U.S.C. § 1512{c)(2); destruction of government property and aiding
and abetting, in violation of 18 U.S.C. §§ 1361, 2; and restricted building without lawful authority,
in violation of 18 U.S.C. § 1752{a)-(b).

ARGUMENT

The burden of persuasion on the issue of pretrial detention falls on the government. United
States v. Stone, 608 F.3d 939, 945 (6th Cir. 2010). This burden has been met. The Court must
consider four factors in making this determination: (1) the nature and circumstances of the offense
charged, including whether, for example, the offense is a crime of violence; (2) the weight of the
evidence against the defendant; (3) the history and characteristics of the defendant; and (4) the
nature and seriousness of the danger to any person or the community that would be posed by the
defendant’s release. 18 U.S.C. § 3142(g). A judicial officer’s finding of dangerousness must be
supported by clear and convincing evidence. 18 U.S.C. § 3142(f)(2)(b); Stone, 608 F.3d at 945.
When “risk of flight” is the basis for detention, however, the government must only satisfy a
preponderance of the evidence standard. United States v. Xulam, 84 F.3d 441, 442 (D.C. Cir.
1996); United States v. Chimurenga, 760 F.2d 400, 405-06 (2d Cir. 1985); United States v. Fortna,
769 F.2d 243, 250 (Sth Cir. 1985); United States v. Orta, 760 F.2d 887, 891 (8th Cir. 1985); United

States v. Motamedi, 767 F.2d 1403, 1406 (9th Cir. 1985). An analysis of these four factors weighs

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heavily in favor of Watkins’s continued detention given the clear and convincing evidence that her
release presents a particular danger to the community as well as the preponderance of evidence
that she poses a serious risk of flight.

A. Watkins’s Criminal Involvement was Extreme and Serious

The profoundly brazen nature of Watkins’s participation in the January 6, 2021 assault on
the Capitol was uniquely dangerous and continues to impact security in the District and beyond.
Watkins joined a violent mob that overwhelmed law enforcement and destroyed government
property, re-creating in modern times events not seen in this nation since the War of 1812. In this
backdrop, Watkins and her co-conspirators formed a subset of the most extreme insurgents that
plotted then tried to execute a sophisticated plan to forcibly stop the results of a Presidential
Election from taking effect. And she did this in coordination and in concert with a virulently anti-
government militia members.

What is more, Watkins was and remains a leader within the broader militia movement. Her
texts reveal her extensive efforts to recruit individuals to her militia group and to participate in the
January 6 insurgency. Her efforts were successful in recruiting at least two people to attend..
Watkins was also responsible for training recruits to get them in “fighting shape” for the
inauguration. For individuals interested in attending the events of January 6", Watkins also
coordinated vetting to help ensure the right people were affiliating with The Oath Keepers. There
is evidence, too, that she was involved in planning for January 6 on national leadership calls,
disseminating those plans, and coordinating travel and lodging with other Oath Keeper members
that planned to come to Washington D.C. from Ohio and other parts of the country. Watkins was
thus not an ancillary player who became swept up in the moment, but a key figure who put into

motion the violence that overwhelmed the Capitol.

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Even if it is true that Watkins did not carry firearms with her into the Capitol, she also did
not feel the need given the Quick Reaction Force (QRF) presence nearby “with weapons for us.”
Even with these resources in place, Watkins still brought with her “mace, tasers, or night sticks,”
some of which items were recovered in her home. And if the situation required, Watkins was
certainly “prepared to fight hand to hand” to see the mission through. The combat fatigues that
she donned further underscored her mindset for violence. Were it not for the successful evacuation
of the Vice President and Senators, or had there been “permission from Trump” as possibly
signaled by invocation of the Insurrection Act—a chance that she did not want to miss, —Watkins
appeared ready and willing to engage in even more violence that day.

In considering the nature and circumstances of the offense, the Court should also weigh
the possible penalty Watkins faces upon conviction. See United States v. Townsend, 897 F.2d 989,
995 (9th Cir. 1990). Here, she faces a statutory maximum term of imprisonment of 20 years, if
convicted of the charges for which she has been indicted. These offenses carry substantial
penalties, which incentivizes flight and evading law enforcement. In addition, the evidence
amassed possibly subjects Watkins to felonies beyond that with which she has been charged so
far, which further incentivizes flight and evasion on the part of the defendant.

B. The Weight of Evidence Against Watkins is Strong’

Second, the weight of the evidence against Watkins is immense: electronic
communications detail her extremist motivations for coming to Washington D.C. on January 6,
2021, as well as the recruitment, planning, and coordination that she undertook to carry out agreed
upon plans; photographs and videos capture her marching in battle fatigues with her fellow Oath

Keepers toward the Capitol then entering the building and Capitol Rotunda; audio recordings that

7 “This factor goes to the weight of the evidence of dangerousness, not the weight of the evidence
of the defendant’s guilt.” Stone, 608 F.3d at 948 (citation omitted),

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memorialize her experience of breaching the Capitol as well as her plan to “execut[e] a citizen’s
arrest ... [of] this assembly ... for acts of treason, election fraud” once inside; social media posts
in which she admits to storming Capitol by force; and physical evidence of items worn and used
that day, including a chilling bomb making recipe that fortunately was not. Put simply, Watkins’s
inability to hide from the weight of this evidence creates the acute nsk that she will attempt to hide
from this Court.

Cc. Watkins’s History and Characteristics Support Detention

Third, Watkins’s history and characteristics animate the conclusions drawn from the facts
above. Watkins has no known criminal convictions and has previously served in the military. That
said, she not only maintains, but has exhibited an extremist anti-government ideology that this
Court has no reason to believe will abate if released. Watkins is also combat trained, known to
possess firearms, is willing to incite and lead others, and harbors a doomsday mindset that, if
anything, risks greater radicalization if released into a community of like-minded individuals
whom she has been known to primarily associate with and that this Court cannot fashion a
condition to prevent.

D. Watkins’s Release Would Unreasonably Endanger the Community and Risk
Her Flight

Moreover, it is difficult to fathom a more serious danger to the community—to the District
of Columbia, to the country, or to the fabric of American Democracy—than the one posed by
armed insurrectionists, including Watkins, who joined in the occupation of the United States
Capitol. Every person who was present without authority in the Capitol on January 6 contributed
to the chaos of that day and the danger posed to law enforcement, the Vice President, Members of

Congress, and the peaceful transfer of power. Watkins’s specific conduct aggravated the chaos

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and danger. It was designed to intimidate Members of Congress and instigate fear across the
country.

Finally, as referenced above, the combination of possible penalties, as well as Watkins’s
extremist anti-government ideology that leads her to embrace rather than regret her conduct on
January 6'", strongly indicates a serious risk of flight if released. In the weeks following the
election, Watkins contemplated going “underground if this coup [Biden election] works,” and held
the paranoid belief that she needed “to be cautious as hell going forward” since “[i]f they still this
election, we are all targets after Jan 20".” Viewing themselves as above the law, the Oath Keepers
pledge “unconstitutional acts to be null and void from inception, and refus[e] to obey them.”
Neither this city nor this nation can risk that possibility. No combination of conditions, any of
which may be dismissed as invalid, could thus reasonably assure the safety of the community.

HI. CONCLUSION

For the foregoing reasons, only detention mitigates the grave dangers posed by Watkins’s

release. The government thus requests that the Court order Watkins detained pending trial.

Respectfully submitted,

MICHAEL R. SHERWIN
ACTING UNITED STATES ATTORNEY

Eldest ap

AHMED M. BASET

Assistant United States Attorney

IL Bar 630-4552

U.S. Attorney’s Office for the District of Columbia
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555 4th Street, N.W.

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By:

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CERTIFICATE OF SERVICE
I hereby certify that on February 11, 2021, I sent a copy of the foregoing via the Court’s

electronic filing system.

thnoplar

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